                                                                   Case 2:23-bk-10990-SK            Doc 424 Filed 10/13/23 Entered 10/13/23 15:28:28   Desc
                                                                                                     Main Document     Page 1 of 2


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                                                                   7
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                   8
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                   9
                                                                                                            LOS ANGELES DIVISION
                                                                  10
                                                                       In re:                                            Case No.: 2:23-bk-10990-SK
                                                                  11
                                                                       LESLIE KLEIN,                                     Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                                                       Debtor.           PROOF OF SERVICE OF DOCUMENT
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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        Case 2:23-bk-10990-SK                     Doc 424 Filed 10/13/23 Entered 10/13/23 15:28:28                                      Desc
                                                   Main Document     Page 2 of 2


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             One Sansome Street, Suite 3430, San Francisco, CA 94104

A true and correct copy of the foregoing document entitled (specify): ORDER REQUIRING DEBTOR’S
APPEARANCE EITHER VIA ZOOM OR IN PERSON [Dkt. No. 423] will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_____________, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _____________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) October 13, 2023, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Email                                           Via Email                                            Via Email
Michael S Kogan                                     Michael Jay Berger                                   Leslie Klein
Kogan Law Firm, APC                                 Law Offices of Michael Jay Berger                    Email: les.kleinlaw@gmail.com
Email: mkogan@koganlawfirm.com                      Email:
                                                    michael.berger@bankruptcypower.com

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 October 13, 2023               Oliver Carpio                                                   /s/ Oliver Carpio
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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